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16
17                    UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
18   ALEX MORGAN, et al.,              Case No. 2:19-cv-01717-RGK-AGR
19                  Plaintiffs,                DEFENDANT’S NOTICE OF
           v.                                  MOTION AND MOTION TO
20                                             STRIKE PLAINTIFFS’ NOTICE OF
     U.S. SOCCER FEDERATION, INC.,             AMENDMENT TO PLAINTIFFS’
21                                             WITNESS LIST AND EXHIBIT
                    Defendant.                 LIST
22
                                               Judge: Hon. R. Gary Klausner
23                                             Hearing: June 29, 2020 at 9:00 a.m.
                                               Place: Courtroom 850
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          DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
                      PLAINTIFFS’ WITNESS LIST AND EXHIBIT LIST
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on June 29 at 9:00 a.m., in the Courtroom of the
 3   Honorable R. Gary Klausner, United States District Court Judge, located at Royal Federal
 4   Building and United States Courthouse, 255 East Temple Street, Los Angeles, CA 90012,
 5   Courtroom 850, 8th Floor, or as soon thereafter as the matter may be heard, Defendant U.S.
 6   Soccer Federation, Inc. will, and hereby does, move the Court to strike Plaintiffs’ Notice
 7   of Amendment to Plaintiffs’ Witness List and Exhibit List. This motion is based on the
 8   attached memorandum of points and authorities, and any evidence or argument that may
 9   be presented at a hearing in this matter.
10         This motion is made following the conferences of counsel pursuant to Local Rule 7-
11   3, which took place on May 16, 19, and 22, 2020.
12
     DATED: May 29, 2020                         Respectfully submitted,
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                                                 LATHAM & WATKINS LLP
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15                                               By: /s/ Jamie L. Wine
                                                    Jamie L. Wine
16                                                  Michele D. Johnson
                                                    Kuan Huang
17                                                  Sarah M. Gragert

18                                                  Attorneys for Defendant

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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant U.S. Soccer Federation, Inc. (“U.S. Soccer”) hereby submits this Motion
 4   to Strike Plaintiffs’ Notice of Amendment to Plaintiffs’ Witness List and Exhibit List, Dkt.
 5   No. 249, filed on May 1, 2020 (“Notice”), before the Court’s issuance of its summary
 6   judgment ruling later that day. In their Notice, Plaintiffs attempt to belatedly identify
 7   Cindy Parlow Cone, the recently-appointed President of U.S. Soccer, as a trial witness.
 8   Plaintiffs’ Notice should be not be permitted for two reasons: First, Plaintiffs have not
 9   demonstrated good cause for their late addition of a new witness and exhibit. In their
10   Notice, Plaintiffs claim Ms. Parlow Cone will testify about statements she made in March
11   of this year, which have nothing to do with the underlying events at issue in this litigation.
12   Given her lack of relevant percipient witness knowledge, there was no merit to Plaintiffs’
13   effort to add her as a witness prior to the Court’s summary judgment ruling, and it is more
14   objectionable now given that the only basis Plaintiffs provided in their Notice for Ms.
15   Parlow Cone’s testimony is that it is purportedly relevant to the “equal responsibility”
16   element of their now-dismissed Equal Pay Act (“EPA”) claim. See, e.g., Notice at 1, 3.
17   Second, Plaintiffs’ Notice is procedurally improper because (among other things) they
18   unilaterally filed something they termed a “Notice” and about which they did not meet
19   and confer with U.S. Soccer prior to filing. For these reasons, U.S. Soccer respectfully
20   requests that the Court strike Plaintiffs’ Notice purporting to add Ms. Parlow Cone as a
21   trial witness and a document associated with her proffered testimony as a trial exhibit.
22   II.   ARGUMENT
23         A.     Ms. Parlow Cone Was Not Involved in the Events Underlying This
24                Lawsuit; Her Testimony Is Therefore Irrelevant to Any Claims.
25         Plaintiffs’ Notice seeking to add Ms. Parlow Cone as a trial witness lacked merit
26   even before the Court granted summary judgment on Plaintiffs’ wage discrimination claims.
27   Ms. Parlow Cone did not participate in any of the collective bargaining negotiations, did
28   not participate in setting compensation, and did not determine any of the working
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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1   conditions that are the subject of Plaintiffs’ claims. In fact, Ms. Parlow Cone only joined
 2   U.S. Soccer, as interim Vice President, in February 2019—just one month before Plaintiffs
 3   filed this lawsuit. Dkt. No. 1 (Mar. 8, 2019). She then assumed her position as President
 4   in March 2020. Ms. Parlow Cone, therefore, has no first-hand knowledge regarding any
 5   of the claims alleged in Plaintiffs’ complaint in this litigation—all of which arose prior to
 6   her employment with U.S. Soccer. Accordingly, Ms. Parlow Cone’s testimony is not
 7   relevant and is inadmissible. See Fed. R. Evid. 401 (to be relevant, evidence must “ha[ve]
 8   any tendency to make a fact more or less probable . . . [and] the fact is of consequence in
 9   determining the action” (emphasis added)); see also Guinan v. Potter, 307 F. App’x 92,
10   92-93 (9th Cir. 2009) (district court properly excluded the testimony of seven witnesses in
11   Title VII lawsuit as irrelevant).
12         B.     Ms. Parlow Cone’s Testimony, Even Under Plaintiffs’ Characterization,
13                Is Not Relevant to Their Remaining Claim.
14         Plaintiffs’ stated reason for adding Ms. Parlow Cone as a witness is to testify
15   regarding the “equal responsibility” prong of the EPA.1 Notice at 3-4; see also id. at 1
16   (intending to elicit testimony regarding “Ms. Parlow Cone’s recent public statements
17   renouncing the view that WNT [U.S. Senior Women’s National Team] players ‘carry less
18   responsibility or have less ability’ than MNT [U.S. Senior Men’s National Team] players”);
19   id. at 3 (quoting statement from Ms. Parlow Cone regarding similar responsibility element).
20   Indeed, Plaintiffs spent the majority of their Notice detailing a supposed dispute between
21   the parties on whether U.S. Soccer would present evidence at trial with respect to the “equal
22   responsibility” prong of Plaintiffs’ EPA claim, and offered that as the purported
23   justification for their late identification of Ms. Parlow Cone as a trial witness.
24         Plaintiffs’ sole justification is now moot, as the Court dismissed Plaintiffs’ EPA
25   claim on summary judgment. Plaintiffs themselves said in their Notice that they would
26   only call Ms. Parlow Cone if after summary judgment the equal responsibility prong of the
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           29 U.S.C. § 206(d)(1) (plaintiff must establish that she is paid less for “equal work
28   on jobs the performance of which requires equal . . . responsibility” (emphasis added)).
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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1   EPA was still in dispute: “in the event that the Court does not grant summary judgment on
 2   [the equal work] element and otherwise permits [U.S. Soccer] to argue at trial that the
 3   WNT and MNT players do not have similar job responsibilities, Plaintiffs intend to call
 4   Ms. Parlow Cone.” Notice at 3-4. Plaintiffs offered no additional justification for belatedly
 5   identifying Ms. Parlow Cone as a witness, and they cannot now.2 Any post hoc effort by
 6   Plaintiffs in their opposition papers to recast Ms. Parlow Cone’s testimony as somehow
 7   relevant to their sole remaining claim—a Title VII working conditions claim concerning
 8   (1) travel conditions and (2) personnel and support services—would be pretextual.
 9         Given that Plaintiffs continue to press for Ms. Parlow Cone’s testimony, it is clear
10   that they seek to admit her statements to try to bias the jury. Plaintiffs would like to focus
11   the jury on certain statements that U.S. Soccer made in earlier summary judgment briefing
12   regarding elements of Plaintiffs’ wage discrimination claim, on which U.S. Soccer
13   disclaimed reliance. See, e.g., Dkt. No. 198-1, Def.’s Reply to Pls.’ Statement of Genuine
14   Disputes at 42 n.1 (Mar. 16, 2020); Dkt. No. 236, Joint Stip. Clarifying Summ. J. Record
15   at 2 (Apr. 8, 2020).      Allowing Plaintiffs to present evidence regarding withdrawn
16   arguments in legal briefs, which are not probative of the underlying events at issue, and
17   purportedly relate (in Plaintiffs’ view) only to an element of a now-dismissed claim would
18   be unfairly prejudicial and confuse the issues for the jury. The further presentation of
19   evidence required to place Ms. Parlow Cone’s March 2020 statements in context also
20   would waste the Court’s and the jury’s time. As such, this testimony should be excluded
21   under Federal Rule of Evidence 403.
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           Plaintiffs try to excuse their delay by arguing that the continuance of the trial date
27   from May 5, 2020 to June 16, 2020 extended the trial lists submission deadline. See Notice
     at 1. However, after the continuance, the parties jointly agreed to revise only those
28   deadlines that had not already passed.
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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1         C.     Plaintiffs’ Notice Mischaracterizes U.S. Soccer’s Position Regarding
 2                Which Elements of Plaintiffs’ EPA Claim It Would Contest.
 3         For purposes of clarifying the record, U.S. Soccer also notes that the underlying
 4   premise of Plaintiffs’ Notice is wrong. Plaintiffs suggest that after U.S. Soccer disavowed
 5   certain statements in its earlier summary judgment briefs, it gave varying positions on
 6   whether it would contest the “equal responsibilities” prong of Plaintiffs’ EPA claim at trial.
 7   See Notice at 2-3. However, U.S. Soccer’s position has been consistent. U.S. Soccer
 8   disclaimed reliance on any argument that the WNT players perform jobs that require less
 9   effort, skill, or responsibility, but that is not the same as contending that the WNT players
10   have different responsibilities than their male counterparts. Indeed, this is precisely what
11   Ms. Parlow Cone said in the statement that Plaintiffs seek to add as a trial exhibit in their
12   Notice: “[I]t’s one thing to argue that men and women play in different tournaments, play
13   against different teams. It’s altogether a different statement to say that, therefore, the
14   women carry less responsibility or have less ability.” Notice at 2 (emphases added)
15   (quoting Ms. Parlow Cone from Plaintiffs’ putative additional Trial Ex. 233).
16         The parties’ Joint Stipulation Clarifying the Summary Judgment Record is consistent
17   as well. U.S. Soccer stated that “for purposes of ruling on the parties’ summary judgment
18   motions,” it was not relying on the arguments and language contained in specific pages and
19   lines of U.S. Soccer’s summary judgment briefing. See Dkt. No. 236, Joint Stip. Clarifying
20   Summ. J. Record at 2. In so doing, U.S. Soccer also expressly reserved its right to “pursue
21   any and all other factual and legal arguments at any trial of this matter,” which included,
22   among other things, the right to argue that the WNT players have different responsibilities
23   from the MNT players. See, e.g., Dkt. No. 171-1, Def.’s Mem. in Supp. of Mot. for Summ.
24   J. at 12-13 (Feb. 20, 2020) (portion of summary judgment brief not withdrawn that notes
25   that the WNT and MNT play different teams in different competitions and tournaments,
26   with different qualification processes and potential to generate revenue). To the extent
27   Plaintiffs purport to have lacked any clarity on which arguments U.S. Soccer was not
28   relying and which it reserved the right to continue to pursue at trial, the Joint Stipulation—
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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1   filed a full month before Plaintiffs filed their Notice belatedly identifying Ms. Parlow
 2   Cone—certainly provided that clarity.
 3         D.     Plaintiffs’ Notice Is Procedurally Improper.
 4         Plaintiffs’ Notice is also procedurally improper. Rather than seek leave to amend
 5   their witness and exhibit lists, Plaintiffs filed something they captioned a “Notice” of their
 6   intent to amend unilaterally both joint lists, and circumvented meet-and-confer obligations.
 7   Accordingly, their Notice should be struck as procedurally improper. See Keller v.
 8   Experian Info Solutions, Inc., No. 16-CV-04643-LHK, 2017 WL 130285, at *1 n.2 (N.D.
 9   Cal. Jan. 13, 2017) (striking plaintiff’s notice of contrary case law as procedurally
10   improper); Green v. Sharp, No. CIV S-06-2107 FCD GGH P, 2008 WL 1994953, at *1
11   (E.D. Cal. May 6, 2008) (granting motion to strike reply brief as procedurally improper),
12   adopting R. & R., 2008 WL 2484830 (E.D. Cal. June 19, 2020), aff’d, 357 F. App’x 845
13   (9th Cir. 2009).
14         Pursuant to the August 20, 2019 Order for Jury Trial, the parties submitted to the
15   Court a joint witness list and a joint exhibit list on March 30, 2020. Dkt. No. 60. The
16   Order required that these joint submissions be “carefully prepared.” Id. at 3. For the joint
17   witness list, the Order required that it contain a brief statement of the testimony for each
18   witness, what makes the testimony unique from any other witness testimony, and the time
19   estimate for such testimony. Id. The Order further provided that the joint exhibit list shall
20   contain any objections to authenticity and/or admissibility to the exhibit(s) and the reasons
21   for the objections. Id.
22         In order to comply with the Order, the parties engaged in a significant coordination
23   process over nearly two weeks. The parties initially exchanged drafts of the lists on March
24   18, 2020. Counsel proceeded to have two meet-and-confer calls on March 18 and 27, 2020,
25   as well as additional telephone discussions among smaller groups of attorneys and a
26   number of email exchanges regarding these two documents. This process allowed each
27   party (among other things) (i) to determine whether, in response to a witness identified by
28   the other party, the party will need to cross-examine that witness and/or call rebuttal
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           DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
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 1   witnesses, and if so, how much time the party will require for each witness; and (ii) to state
 2   objections to the other party’s proposed exhibits. These discussions also permitted the
 3   parties to assess whether certain witnesses were even needed at all, based on the relevance
 4   and unique nature of a witness’s testimony. Id.
 5          By unilaterally purporting to amend the witness and exhibit lists through their Notice,
 6   Plaintiffs undermined this process and the Court’s Order. Filing a “Notice” allowed them
 7   to avoid filing a motion and thus circumvent the meet and confer process that is required,
 8   for good reason, pursuant to Local Rule 7.3 prior to the filing of any motion. Plaintiffs
 9   also failed to seek the Court’s permission to amend the trial lists, which likewise would
10   have necessitated a motion and triggered meet and confer obligations.            The proper
11   mechanism Plaintiffs should have utilized is a motion to seek leave to amend. See, e.g.,
12   Kirola v. City of S.F., No. C 07-03685 SBA, 2011 WL 1235664, at *1 (N.D. Cal. Apr. 1,
13   2011) (granting in part and denying in part plaintiff’s motion for leave to amend witness
14   and exhibit lists to respond to defendant’s amended exhibit and witness lists, which the
15   court had previously permitted to reflect developments that occurred due to continuance of
16   trial date); Quiksilver, Inc. v. Kymsta Corp., No. CV 02-05497-DT (Mcx), 2004 WL
17   7333064, at *2 (C.D. Cal. Jan. 12, 2004) (defendant requested order permitting it to amend
18   its trial witness and exhibit lists); Burns v. City of Redwood City, No. C 08-2995 RS, 2011
19   WL 13153639, at *2 (N.D. Cal. May 13, 2011) (granting plaintiff’s supplemental motion
20   to amend witness and exhibit lists).
21   III.   CONCLUSION
22          For the reasons stated above, U.S. Soccer respectfully requests that the Court strike
23   Plaintiffs’ Notice of Amendment to Plaintiffs’ Witness List and Exhibit List, seeking to
24   add Cindy Parlow Cone as a trial witness and add an exhibit reflecting Ms. Parlow Cone’s
25   March 2020 statements regarding arguments withdrawn from U.S. Soccer’s summary
26   judgment briefing.
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            DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
                        PLAINTIFFS’ WITNESS LIST AND EXHIBIT LIST
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 1
     DATED: May 29, 2020                   Respectfully submitted,
 2
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 3
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 5                                            Michele D. Johnson
                                              Kuan Huang
 6                                            Sarah M. Gragert

 7                                            Attorneys for Defendant

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          DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ NOTICE OF AMENDMENT TO
                      PLAINTIFFS’ WITNESS LIST AND EXHIBIT LIST
